                   Case 23-50457-CTG            Doc 22       Filed 12/21/23        Page 1 of 4




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                            Chapter 11

    YELLOW CORPORATION, et al.,1                                      Case No. 23-11069 (CTG)

             Debtors.                                                 (Jointly Administered)

    JEFF MOORE and ELIZABETH BROOKE
    MOORE and VIDAL TORRES on behalf of
    themselves and all others similarly situated,

             Plaintiffs,                                              Adversary Proceeding

        v.                                                            Case No. 23-50457-CTG

    YELLOW CORPORATION; USF REDDAWAY
    INC.; 1105481 ONTARIO INC.; YELLOW
    FREIGHT CORPORATION; EXPRESS LANE
    SERVICE, INC.; YELLOW LOGISTICS, INC.;
    NEW PENN MOTOR EXPRESS LLC; YRC
    ASSOCIATION SOLUTIONS, INC.;
    ROADWAY EXPRESS INTERNATIONAL,
    INC.; YRC ENTERPRISE SERVICES, INC.;
    ROADWAY LLC; YRC FREIGHT CANADA
    COMPANY; ROADWAY NEXT DAY
    CORPORATION; YRC INC.; USF BESTWAY
    INC.; YRC INTERNATIONAL
    INVESTMENTS, INC.; USF DUGAN INC.;
    YRC LOGISTICS INC.; USF HOLLAND
    INTERNATIONAL SALES CORPORATION;
    YRC LOGISTICS SERVICES, INC.; USF
    HOLLAND LLC; YRC MORTGAGES, LLC;
    USF REDSTAR LLC AND YRC REGIONAL
    TRANSPORTATION, INC.

             Defendants.                                              Ref. Docket No. 20




1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
Overland Park, Kansas 66211.
              Case 23-50457-CTG        Doc 22    Filed 12/21/23     Page 2 of 4




                             CERTIFICATE OF SERVICE

I, CASSANDRA MURRAY, hereby certify that:

1. I am employed as a Senior Case Manager by Epiq Corporate Restructuring, LLC, with their
   principal office located at 777 Third Avenue, New York, New York 10017. I am over the
   age of eighteen years and am not a party to the above-captioned action.

2. On December 18, 2023, I caused to be served the “Defendants’ Answer to Plaintiffs’ First
   Amended Class Action Adversary Proceeding Complaint,” dated December 18, 2023
   [Docket No. 20], by causing true and correct copies to be:

   a. enclosed securely in separate postage pre-paid envelopes and delivered via first class
      mail to the party listed on the annexed Exhibit A, and

   b. delivered via electronic mail to: jhuggett@margolisedelstein.com.

3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                          /s/ Cassandra Murray
                                                          Cassandra Murray
Case 23-50457-CTG   Doc 22   Filed 12/21/23   Page 3 of 4




                    EXHIBIT A
                Case 23-50457-CTG      Doc 22     Filed 12/21/23    Page 4 of 4
                       YELLOW CORPORATION, et al., Case No. 23-11069 CTG
                                  First Class Mail List




JAMES E. HUGGETT
MARGOLIS EDELSTEIN
300 DELAWARE AVE.
SUITE 800
WILMINGTON, DE 19801




                                              1
